                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



         In re:                                )       CHAPTER 11
                                               )
         DJM HOLDINGS, LTD                     )       CASE NO. 21-10483
                                               )
                                Debtor         )       JUDGE ARTHUR I HARRIS
                                               )



               FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF
                                DJM HOLDINGS, LTD.




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                                             INTRODUCTION

          DJM Holdings, Ltd, the Debtor and Debtor-in-possession in the above-captioned chapter 11 case
 proposes this chapter 11 plan of reorganization pursuant to chapter 11 of title 11 of the United States Code.
 Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to such terms in
 Article I. A. hereof.

          Reference is made to the Disclosure Statement for the Chapter 11 Plan of Reorganization of DJM
 Holdings, Ltd filed with the Court simultaneously with this Plan for a discussion of the Debtor’s history,
 business, operations, valuation, projections, risk factors, a summary and analysis of the Plan and the
 transactions contemplated thereby, and certain related matters.

       ALL HOLDERS OF CLAIMS AND INTERESTS, TO THE EXTENT APPLICABLE, ARE
 ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR
 ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

                                     HISTORY OF THE COMPANY

          Since 2010, between the reduction in the value of Real Estate, the pandemic, and the subsequent
 moratoriums on evictions, the Debtor has had difficulty. The Debtor had a Chapter 11 in 2010, which was
 ultimately confirmed but the coming of the pandemic resulted in the reorganized Debtor getting behind on
 payments. The Debtor then filed a second Chapter 11 which was ultimately dismissed and now makes
 anotherattempt to save its business and the livelihood of its principals, Deborah and Martin Maniaci. Since
 the filing of the case, Debtor, has seen a surge in home prices in Maple Heights and the surrounding area.
 This development favors Debtor’s “bottom line” and current conditions will support rent increases. Debtor
 anticipates rent increases of $200.00 per house per month as leases renew.

        Because of the increases in value and the upcoming rent increases, Debtor believes it can pay the
 amounts called for in the confirmed 2010 Plan, and pay any missed payments and unsecured debt going
 forward.

                                   ARTICLE I.
         DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME,
                    GOVERNING LAW, AND OTHER REFERENCES

 A.      Defined Terms

           1.       “Administrative Claim” means a Claim incurred by the Debtor on or after the Petition Date
 and before the Effective Date for a cost or expense of administration of the Chapter 11 Case entitled to
 priority under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the
 actual and necessary costs and expenses incurred on or after the Petition Date until and including the
 Effective Date of preserving the Estates and operating the Debtor’s businesses; (b) Allowed Professional
 Fee Claims; and (c) all fees and charges assessed against the Estates pursuant to section 1930 of chapter 123
 of title 28 of the United States Code.

         2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
 Administrative Claims, which: (a) with respect to Administrative Claims other than Professional Fee
 Claims, shall be 30 days after the Effective Date; and (b) with respect to Professional Fee Claims, shall be
 45 days after the Effective Date.

          3.      “Affiliate” means, with respect to any Person, all Persons that would fall within the
 definition assigned to such term in section 101(2) of the Bankruptcy Code, if such Person was a Debtor in
 a case under the Bankruptcy Code.
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         4.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a
 Claim that is evidenced by a Proof of Claim Filed by the Claims Bar Date (or such other date as agreed by
 the Debtor pursuant to the Bar Date Order) or a request for payment of an Administrative Claim Filed by
 the Administrative Claims Bar Date, as applicable (or for which Claim under the Plan, the Bankruptcy
 Code, or pursuant to a Final Order, a Proof of Claim or request for payment of Administrative Claim is not
 or shall not be required to be Filed); (b) a Claim that is listed in the Schedules as not contingent, not
 unliquidated, and not disputed, and for which no Proof of Claim, as applicable, has been timely Filed; or
 (c) a Claim Allowed pursuant to the Plan or a Final Order; provided, that with respect to a Claim describedin
 clauses (a) and (b) above, such Claim shall be considered Allowed only if and to the extent that with respect to
 such Claim no objection to the allowance thereof is interposed within the applicable period of time fixed by
 the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection isso
 interposed and the Claim has been Allowed by a Final Order. Any Claim that has been or is hereafter listed
 in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of Claim is or has been
 timely Filed, or that is not or has not been Allowed by a Final Order, is not considered Allowed and shall
 be expunged without further action by the Debtor and without further notice to any party or action, approval,
 or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no Claim of any Entity
 subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until suchEntity pays
 in full the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For the
 avoidance of doubt, a Proof of Claim Filed after the Claims Bar Date or a request for payment of an
 Administrative Claim Filed after the Administrative Claims Bar Date, as applicable, shall not be Allowed for
 any purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow” and
 “Allowing” shall have correlative meanings.

         5.      “Avoidance Actions” means any and all avoidance, recovery, subordination, or other
 Claims, actions, or remedies that may be brought by or on behalf of the Debtor or their Estates or other
 authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including
 actions or remedies under sections 502, 510, 542, 544, 545, and 547 through and including 553 of the
 Bankruptcy Code.

       6.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
 amended from time to time.

           7.      “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District of
 Ohio, Western Division, having jurisdiction over the Chapter 11 Case, and, to the extent of the withdrawal
 of reference under 28 U.S.C. § 157 and/or the General Order of the District Court pursuant to section 151 of
 title 28 of the United States Code, the United States District Court for the Northern District of Ohio.

          8.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
 section 2075 of title 28 of the United States Code, and the general, local rules of the Bankruptcy Court.

         9.      “Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim
 must be filed with respect to such Claims, as ordered by the Bankruptcy Court.

         10.     “Bar Date Order” means the order of the Bankruptcy Court establishing the Claims Bar
 Date for general Claims.

         11.     “Cash” means the legal tender of the United States of America or the equivalent thereof,
 including bank deposits and checks.

         12.   “Causes of Action” means any claims, Claims, Interests, damages, remedies, causes of
 action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,

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 privileges, licenses, and franchises of any kind or character whatsoever, whether known or unknown,
 foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, matured or unmatured,
 suspected or unsuspected, in tort, law, equity, or otherwise. Causes of Action also include: (a) all rights of setoff,
 counterclaim, or recoupment and claims on contracts or for breaches of duties imposed by law; (b)the right
 to object to or otherwise contest Claims or Interests; claims pursuant to sections 362, 510, 542, 543, 544
 through 550, or 553 of the Bankruptcy Code; and (d) such claims and defenses as fraud, mistake,duress, and
 usury and any other defenses set forth in section 558 of the Bankruptcy Code.

         13.    “Chapter 11 Case” means this case which is pending under chapter 11 of the Bankruptcy
 Code in the Bankruptcy Court.

          14.      “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

         15.     “Claims Bar Date” means the applicable bar date by which Proofs of Claim must be Filed,
 as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) the Plan.

        16.     “Class” means a category of Holders of Claims or Interests pursuant to section 1122(a) of
 the Bankruptcy Code.

          17.      “Company” means DJM Holdings, Ltd

          18.      “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11
 Case.

        19.     “Confirmation Date” means the date on which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003 and
 9021.

        20.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
 Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

         21.      “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code, which order shall be consistent in all respects with, and
 shall contain, the terms and conditions set forth in the Plan and shall otherwise be in form and substance
 reasonably acceptable to the Debtor and the Reorganized Debtor.

          22.      “Consummation” means the occurrence of the Effective Date.

          23.      “Convenience Claim” means a claim under $2,000.00

          24.      “Creditor” has the meaning set forth in section 101(10) of the Bankruptcy Code.

         25.     “Cure” means a Claim (unless waived or modified by the applicable counterparty) based
 upon a Debtor’s default(s) under an Executory Contract or an Unexpired Lease assumed by the Debtor
 under section 365 of the Bankruptcy Code, other than a default that is not required to be cured pursuant to
 section 365(b)(2) of the Bankruptcy Code.

          26.      “Debtor” means, DJM Holdings, Ltd

          27.      “Disallowed” means any Claim that is not allowed.

         28.     “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits
 and schedules thereto.
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         29.     “Disclosure Statement Order” means the order entered by the Bankruptcy Court approving
 the Disclosure Statement.

         30.       “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not
 Allowed; (b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as
 to which a dispute is being adjudicated by a court of competent jurisdiction in accordance with non-
 bankruptcy law; (d) that is Filed in the Bankruptcy Court and not withdrawn, as to which a timely objection
 or request for estimation has been Filed; and (e) with respect to which a party in interest has Filed a Proof of
 Claim or otherwise made a written request to a Debtor for payment, without any further notice to or action,
 order, or approval of the Bankruptcy Court.

         31.    “Distribution Agent” means, the Reorganized Debtor or any Entity the Reorganized Debtor
 selects to make or to facilitate distributions in accordance with the Plan. The Distribution Agent
 contemplated by the Disclosure Statement and Plan is Deborah Maniaci.

         32.    “Distribution Date” means the date or dates determined by the Debtor or the Reorganized
 Debtor, on or after the Effective Date, upon which the Distribution Agent shall make distributions to
 Holders of Allowed Claims and Interests entitled to receive distributions under the Plan.

         33.     “Effective Date” means the first business day that is more than thirty (30) after the
 Confirmation Date on which all conditions precedent to the occurrence of the Effective Date of the Plan have
 been satisfied.

         34.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

        35.     “Estate” means, the estate created for the Debtor pursuant to section 541 of the Bankruptcy
 Code upon the commencement of the Debtor’s Chapter 11 Case.

          36.      “Executory Contract” means a contract or lease to which one or more of the Debtor is a party
 that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

          37.     “Existing Common Interests” means the Interests in DJM Holdings, Ltd arising from or
 related to the Existing Membership Interests.

          38.     “Existing Class A Membership Interests” means the voting interests in DJM Holdings, Ltd
 arising from or related to the Existing Membership Interests.

         39.      “File”, “Filed,” and “Filing” means file, filed, or filing in the Chapter 11 Case with the
 Bankruptcy

         40.      “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

          41.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other
 court of competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed,
 modified, or amended, and as to which the time to appeal or seek certiorari has expired and no appeal or
 petition for certiorari has been timely taken, or as to which any appeal that has been taken or any petition
 for certiorari that has been or may be filed has been resolved by the highest court to which the order or
 judgment could be appealed or from which certiorari could be sought or the new trial, reargument, or
 rehearing shall have been denied, resulted in no modification of such order, or has otherwise been dismissed
 with prejudice.



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         42.     “General Unsecured Claim” means any Claim that is not Secured and is not: (a) an
 Administrative Claim; (b) a Professional Fee Claim; (c) a Priority Tax Claim; (d) an Other Priority Claim;
 (e) a Notes Claim; or (f) an Intercompany Claim.

         43.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         44.     “Holder” means an Entity holding an Allowed Claim or Interest, as applicable.

          45.       “Impaired” means, with respect to any Class of Claims or Interests, a Class of Claims or
 Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

         46.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         47.     “Mortgage” has its common meaning as a species of lien on real property.

         48.     “New Organizational Documents” means the form of the certificates or articles of
 incorporation, bylaws, or such other applicable formation documents, of the Reorganized Debtor.

        49.     “Other Priority Claim” means any Claim other than an Administrative Claim or a Priority
 Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         50.     “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy Code.

         51.     “Petition Date” means the date, if applicable, on which the Debtor commenced the Chapter
 11.

          52.     “Plan” means this chapter 11 plan (as it may be amended or supplemented from time to
 time, including all exhibits, schedules, supplements, appendices, annexes and attachments hereto), and shall
 otherwise be in form and substance reasonably acceptable to the Debtor and the Reorganized Debtor.

         53.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
 section 507(a)(8) of the Bankruptcy Code.

          54.      “Pro Rata” means the proportion that an Allowed Claim or Existing Membership Interests
 in a particular Class bears to the aggregate amount of the Allowed Claims or Existing Membership Interests
 in that respective Class, or the proportion of the Allowed Claims or Existing Membership Interests in a
 particular Class and other Classes entitled to share in the same recovery as such Allowed Claim or Existing
 Membership Interests.

         55.      “Professional” means any Entity or individual employed in the Chapter 11 Case pursuant
 to a Bankruptcy Court order in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to
 be compensated for services rendered before or on the Effective Date, pursuant to sections 327, 328, 329,
 330, or 331 of the Bankruptcy Code.

         56.      “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and
 other unpaid fees and expenses that Professionals estimate they have incurred or will incur in rendering
 services to the Debtor prior to and as of the Confirmation Date, which estimates Professionals shall deliver
 to the Debtor as set forth in Article II. B of the Plan.




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          57.      “Professional Fee Claim” means all Administrative Claims for the aggregate amount of
  compensation and other unpaid fees and expenses of Professionals that the Professionals estimate they have
  incurred or will incur in rendering services to the Debtor prior to and as of the Confirmation Date, which
  estimates such Professionals shall deliver to the Debtor as set forth in Article II.B of the Plan.

          58.     “Proof of Claim” means a proof of Claim Filed against the Debtor in the Chapter 11 Case
  by the applicable Bar Date.

          59.     “Released Party” means the Debtor, its members, officers, directors, agents, financial
  advisors, accountants, consultants, attorneys and employees.

          60.      “Releasing Party” means other than as provided by the terms of the Plan or the order
  confirming the plan means any creditor of the Debtor, a claimant of the Debtor whether or not a claim has
  been filed, a party in interest or any equity holder of the Debtor and their respective predecessors,
  successors, assigns, directors, officers, partners, employees, agents, attorneys, principals, Affiliates and all
  other Persons who might have a claim against any Released Party.

          61.      “Reorganized Debtor” means DJM, as reorganized pursuant to and under the Plan, or any
  successor thereto.

          62.     “Reorganized DJM” means the Debtor, as reorganized pursuant to and under the Plan, or
  any successor thereto.

          63.       “Schedules” means, collectively, the schedules of assets and liabilities and statements of
  financial affairs filed by the Debtor.

          64.     “Secured” means, when referring to a Claim: (a) secured by a lien on property in which
  any of Debtor has an interest, which lien is valid, perfected, and enforceable pursuant to applicable law or
  by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy
  Code, to the extent of the value of the creditor’s interest in the Debtor’s interest in such property or to the
  extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
  Bankruptcy Code; or (b) Allowed pursuant to the Plan, or separate order of the Bankruptcy Court, as a
  secured claim.

          65.     “Solicitation Commencement Date” means the date of distribution of the Solicitation
  Materials to Holders of Claims and Interests in Voting Classes.

           66.      “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed
  Claim or Existing Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of
  distributions made by check, negotiated such check; (b) given notice to the Reorganized Debtor of an intent
  to accept a particular distribution; (c) responded to the Debtor’s or Reorganized Debtor’s requests for
  information necessary to facilitate a particular distribution; or (d) taken any other action necessary to
  facilitate such distribution.

           67.    “Unexpired Lease” means a lease of nonresidential real property to which one the Debtor is a
  party or guarantor of that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

           68.       “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
  Interests that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

          69.      “U.S. Trustee” means the Office of the United States Trustee for the Northern District of


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  Ohio.

          70.      “Voting Classes” has the meaning ascribed to such term in the Disclosure Statement Order.


  B.      Rules of Interpretation

            For purposes herein: (1) in the appropriate context, each term, whether stated in the singular or the
  plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
  neuter gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified,
  any reference herein to a contract, lease, instrument, release, indenture, or other agreement or document
  being in a particular form or on particular terms and conditions means that such document shall be
  substantially in such form or substantially on such terms and conditions; (3) unless otherwise specified, any
  reference herein to an existing document, schedule, or exhibit, shall mean such document, schedule, or
  exhibit, as it may have been or may be amended, modified, or supplemented; (4) unless otherwise specified,
  all references herein to “Articles” and “Sections” are references to Articles and Sections, respectively,
  hereof or hereto; (5) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to
  any particular portion of the Plan; (6) captions and headings to Articles and Sections are inserted for
  convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan;
  (7) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy
  Code shall apply; (8) any term used in capitalized form herein that is not otherwise defined but that is used in
  the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to such term in the Bankruptcy
  Code or the Bankruptcy Rules, as applicable; (9) references to docket numbers of documents Filed in the
  Chapter 11 Case are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (10)
  all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
  time; (11) references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
  “managers,” as applicable, as such terms are defined under the applicable state limited liability company
  laws; (12) the words “include” and “including” and variations thereof shall not be deemed to be terms of
  limitation, and shall be deemed to be followed by the words “without limitation,” and (13) any immaterial
  effectuating provisions may be interpreted by the Debtor or the Reorganized Debtor in such a manner that
  is consistent with the overall purpose and intent of the Plan and without further notice to or action, order, or
  approval of the Bankruptcy Court or any other Entity.

  C.      Computation of Time

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
  in computing any period of time prescribed or allowed herein. If the date on which a transaction may occur
  pursuant to the Plan shall occur on a day that is not a business day, then such transaction shall instead occur
  on the next succeeding business day.

  D.      Governing Law

          Except to the extent a rule of law or procedure is supplied by federal law (including the Bankruptcy
  Code or Bankruptcy Rules), and subject to the provisions of any contract, lease, instrument, release,
  indenture, or other agreement or document entered into expressly in connection herewith, the rights and
  obligations arising hereunder shall be governed by, and construed and enforced in accordance with, the
  laws of the State of Ohio, without giving effect to conflict of laws principles.

  E.      Reference to Monetary Figures

          All references in the Plan to monetary figures refer to currency of the United States of America,


                                                         10

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  unless otherwise expressly provided.

  F.      Reference to the Debtor or the Reorganized Debtor

           Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
  Debtor or to the Reorganized Debtor mean the Debtor and the Reorganized Debtor, as applicable, to the
  extent the context requires.

  G.      Controlling Document

           In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the
  Plan shall control in all respects. In the event of an inconsistency between the Plan and any document
  included in any Plan Supplement or amendment, the applicable Plan Supplement or amendment shall
  control. In the event of an inconsistency between the Confirmation Order and any of the Plan, the Disclosure
  Statement, or the Plan Supplement and amendment, the Confirmation Order shall control. For the avoidance
  of doubt, the executed post-Effective Date Definitive Documents shall control the matters set forth therein
  in the event of a conflict between any such Definitive Document and any other document.

                      ARTICLE II. ADMINISTRATIVE AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
  Professional Fee Claims, and Priority Tax Claims have not been classified and thus are excluded from the
  Classes of Claims and Interests set forth in Article III of the Plan.

  A.      Administrative Claims

           Except to the extent that a Holder of an Allowed Administrative Claim and the Debtor against
  which such Allowed Administrative Claim is asserted agree to less favorable treatment for such Holder,
  each Holder of an Allowed Administrative Claim (other than Holders of Professional Fee Claims and
  Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code)
  will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the amount
  of such Allowed Administrative Claim in accordance with the following: (1) if an Administrative Claim is
  Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably practicable
  thereafter (or, if not then due, when such Allowed Administrative Claim is due or as soon as reasonably
  practicable thereafter); (2) if such Administrative Claim is not Allowed as of the Effective Date, no later
  than 30 days after the date on which an order Allowing such Administrative Claim becomes a Final Order, or
  as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is based on liabilities
  incurred by the Debtor in the ordinary course of their business after the Petition Date in accordance with
  the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim
  without any further action by the Holders of such Allowed Administrative Claim; (4) at such time and upon
  such terms as may be agreed upon by such Holder and the Debtor or the Reorganized Debtor, as applicable;
  or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

  B.      Professional Fee Claims

          All requests for payment of Professional Fee Claims for services rendered and reimbursement of
  expenses incurred prior to the Confirmation Date must be filed with the Bankruptcy Court no later than 45
  days after the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such
  Professional Fee Claims after notice and a hearing in accordance with the procedures established by the
  Bankruptcy Court. The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amount the
  Bankruptcy Court allows.


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          From and after the Confirmation Date, any requirement that Professionals comply with sections
  327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services
  rendered after such date shall terminate, and the Reorganized Debtor may employ and pay any Professional
  in the ordinary course of business without any further notice to or action, order, or approval of the
  Bankruptcy Court.

  C.      Priority Tax Claims

           Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor agree to a less
  favorable treatment for such Holder, in full and final satisfaction, settlement, release, and discharge of and
  in exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall
  be treated in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code and, for
  the avoidance of doubt, Holders of Allowed Priority Tax Claims will receive interest on such Allowed
  Priority Tax Claims after the Effective Date in accordance with sections 511 and 1129(a)(9)(C) of the
  Bankruptcy Code.

  D.      Statutory Fees

           All fees due and payable pursuant to section 1930 of title 28 of the United States Code prior to the
  Effective Date shall be paid by the Debtor. On and after the Effective Date, the Reorganized Debtor shall
  pay any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly reports
  in a form reasonably acceptable to the U.S. Trustee. The Debtor shall remain obligated to pay quarterly fees
  to the U.S. Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
  under Chapter 7 of the Bankruptcy Code.

                                 ARTICLE III.
         CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

  A.      Classification of Claims and Interests

           The Plan constitutes a plan proposed by the Debtor within the meaning of section 1121 of the
  Bankruptcy Code. Except for the Claims addressed in Article II of the Plan, all Claims and Interests are
  classified in the Classes set forth below in accordance with section 1122 of the Bankruptcy Code. A Claim
  or an Interest is classified in a particular Class only to the extent that the Claim or Interest qualifies within
  the description of that Class and is classified in other Classes to the extent that any portion of the Claim or
  Interest qualifies within the description of such other Classes. A Claim or an Interest also is classified in a
  particular Class for the purpose of receiving distributions under the Plan only to the extent that such Claim
  or Interest is an Allowed Claim or Existing Interest in that Class and has not been paid, released, or
  otherwise satisfied or disallowed by Final Order prior to the Effective Date. For all purposes under the Plan,
  each Class will contain sub-Classes for the Debtor, as applicable; provided, that any Class that does not
  contain any Allowed Claims or Existing Interests with respect to the Debtor will be treated in accordance
  with Article III. D below.

          Below is a chart assigning each Class a number for purposes of identifying each separate Class.




                                                         12

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          Class             Claim or Interest                     Status              Voting Rights
            1     Secured Claims of Banks                       Impaired     Entitled to Vote
            2     Administrative Claims                         Unimpaired   Deemed to Accept
            3     Tax Claims                                    Unimpaired   Deemed to Accept
            4     Assumed Executory Contracts                   Unimpaired   Deemed to Accept
            5     Unsecured Claims                              Impaired     Entitled to Vote
            6     Convenience Claims                            Impaired     Entitled to Vote
            7     1111(b) Claims                                Impaired     Not Entitled to Vote



  B.        Treatment of Classes of Claims and Interests



       a. Class 1 - Secured Claims – See Exhibit A

            a.     Classification: Class 1 consists of the Secured Claims set forth in the attached Exhibit A.
            These Claims consist of Secured Claims against the Debtors’ real estate.

            b.      Treatment:

                    i.      Treatment of these Secured Claims shall be as evidenced in attached Exhibit A.
                    Debtor estimates Secured Claims in the approximate amount of One Million Dollars.

                    ii.     Adequate Protection – Debtor has been paying and will continue to pay the sum of
                    $250.00 a month to each party with a Secured Interest in any of the Debtor’s rental
                    properties.

            c.      Voting: Class 1 is Impaired by virtue of “cram downs” and is therefore entitled to vote to
            accept or reject the Claim.




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                            PRE-PETITION SECURED CREDITORS




14907 Tokay              $25,000.00 $16,612.64   $8,387.36        $0.00 see key below1           $8,387.36
Maple Heights, OH
44137
19769 Maple Hts Blvd     $30,000.00 $14,647.34 $15,352.66         $0.00 see key below1          $15,352.66
Maple Heights, OH
44137
5317 Thomas              $59,540.00   $1,173.17 $58,366.83   $59,540.00 Pay according to         -$1,173.17
                                                                          confirmed plan.
Maple Heights, OH
                                                                          Pay any missed
44137                                                                     payments quarterly
20609 Mountville Dr      $70,750.00   $1,193.25 $69,556.75   $70,750.00   Pay according to       -$1,193.25
                                                                          confirmed plan.
Maple Heights, OH
                                                                          Pay any missed
44137                                                                     payments quarterly
21304 Franklin           $62,295.00    $946.67 $61,348.33    $62,295.00   Pay according to        -$946.67
                                                                          confirmed plan.
Maple Heights, OH
                                                                          Pay any missed
44137                                                                     payments quarterly
5154 Anthony             $85,000.00   $4,197.90 $80,802.10   $85,000.00   Pay according to       -$4,197.90
                                                                          confirmed plan.
Maple Heights, OH
                                                                          Pay any missed
44137                                                                     payments quarterly
                                                                          over 9 years.
4673 Osborn Road         $57,046.65   $4,125.47 $52,921.18   $57,046.65   Pay according to       -$4,125.47
                                                                          confirmed plan.
Garfiled Heights, OH
                                                                          Pay any missed
44128                                                                     payments quarterly
                                                                               9
5123 Theodore            $29,000.00 $17,388.14 $11,611.86         $0.00   Pay according to      $11,611.86
                                                                          confirmed plan. Pay
Maple Heights, OH
                                                                          any missed
44137                                                                     payments quarterly
5220 Stanley             $65,170.00   $3,052.16 $26,947.84   $65,170.00   Pay according to      -$38,222.16
                                                                          confirmed plan.
Maple Heights, OH
                                                                          Pay any missed
44137                                                                     payments quarterly
TABLE ONE                                                                 TOTAL =               -$14,506.74




                                                    14

     21-10483-aih      Doc 211-1   FILED 09/30/21   ENTERED 09/30/21 19:52:22          Page 15 of 34
13111 Cranwood Park    $20,000.00 $14,896.44   $5,103.56        $0.00 see key below1          $5,103.56
Garfield Heights, OH
44125
5534 South Blvd        $73,495.00   $1,077.27 $72,417.73 $72,864.40 Pay pursuant to            -$446.67
                                                                      prior confirmed plan
Maple Heights, OH
44137
5540 Dalewood          $77,115.00   $1,313.58 $75,801.42 $80,783.00 Pay pursuant to           -$4,981.58
                                                                      prior confirmed plan
Maple Heights, OH
44137
20607 Gardenview       $30,000.00   $2,585.99 $27,414.01 $41,122.96 Pay pursuant to          -$13,708.95
                                                                      prior confirmed plan
Maple Heights, OH
44137
5239 Joseph            $27,000.00 $30,478.29 -$3,478.29    $5,000.00 see key below2,3         -$8,478.29
Maple Heights, OH
44137

21310 Kenyon           $31,000.00 $21,243.12   $9,756.88   $5,000.00 see key below3           $4,756.88
Maple Heights, OH
44137
21113 Watson           $30,000.00 $32,422.59 -$2,422.59    $5,000.00 see key below2,3         -$7,422.59
Maple Heights, OH
441137
15312 Fernway          $67,451.00   $1,025.54 $66,425.46 $67,451.00 Pay pursuant to           -$1,025.54
                                                                      prior confirmed plan
Maple Heights, OH
44137

TABLE TWO                                                             TOTAL =                -$27,217.75




                                                           15

     21-10483-aih      Doc 211-1      FILED 09/30/21       ENTERED 09/30/21 19:52:22                 Page 16 of 34
Property                Value           Real       Equity      Amount of     Treatment2         Unsecured
                                        Estate Tax After Tax   Mortgage                         Amount (Neg
                                                                                                #s) or Equity
                                                                                                (Pos #s)

17274 McCracken            $67,345.00 $1,001.70 $37,998.30      $67,345.00 Pay according to       -$29,346.70
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
                                                                             years
544 E 253rd                $63,250.00 $1,196.83 $26,803.17      $63,250.00   Pay according to     -$36,446.83
                                                                             confirmed plan.
Euclid, OH 44132
                                                                             Pay any missed
                                                                             payments
                                                                             quarterly over 9
19415 Maple Hts Blvd       $66,000.00 $1,148.38 $64,851.62      $66,000.00   Pay according to      -$1,148.38
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
19501 Milan                $61,630.00     $978.18 $60,651.82    $61,630.00   Pay according to        -$978.18
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
16775 Gerard               $59,920.00     $988.96 $58,931.04    $59,920.00   Pay according to        -$988.96
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
5031 E 114th               $56,500.00 $1,311.31 $55,188.69      $56,500.00   Pay according to      -$1,311.31
                                                                             confirmed plan.
Garfield Heights, OH
                                                                             Pay any missed
44125                                                                        payments
                                                                             quarterly over 9
5222 Cato                  $61,250.00     $997.24 $60,252.76    $61,250.00   Pay according to        -$997.24
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
5547 Grasmere              $62,580.00 $5,416.43 $57,163.57      $62,580.00   Pay according to      -$5,416.43
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
14612 Reddington           $57,000.00 $25,296.76     $4,703.24 57,.000.00    Pay according to      $25,296.76
                                                                             confirmed plan.
Maple Heights, OH
                                                                             Pay any missed
44137                                                                        payments
                                                                             quarterly over 9
TABLE THREE                                                                  TOTAL =              -$51,337.27




                                                    16

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Property                Value        Real       Equity    Amount of     Treatment            Unsecured Amount
                                     Estate Tax After Tax Mortgage                           (Neg #s) or Equity
                                                                                             (Pos #s)

19431 Maple Heights     $29,000.00 $2,438.36 $26,561.64          $0.00 see key below1                 $26,561.64
Maple Heights, OH
44137

8131 Garfield Road      $30,000.00 $2,667.08 $27,332.92          $0.00 see key below1                 $27,332.92
Garfield Heights, OH
44125

5165 Arch St            $30,000.00 $1,926.12 $28,073.88          $0.00 see key below1                 $28,073.88
Maple Heights, OH
44137

5611 South Blvd         $66,000.00 $1,256.40 $23,743.60 $66,000.00 Pay according to                   -$42,256.40
                                                                        confirmed plan.
Maple Heights, OH
                                                                        Pay any missed
44137                                                                   payments quarterly
                                                                        over 9 years
9206 Miles Ave               $0.00     $223.04   -$223.04         N/A   Debtor is
                                                                        surrendering this
Cleveland, OH 44105
                                                                        property


5199 Arch St            $64,290.00     $965.11 $63,324.89 $64,290.00 Pay according to                   -$965.11
                                                                        confirmed plan.
Maple Heights, OH
                                                                        Pay any missed
44137                                                                   payments quarterly
                                                                        over 9 years
5247 Henry Street       $65,715.00 $1,116.03 $64,598.97 $65,715.00      Pay according to               -$1,116.03
                                                                        confirmed plan.
Maple Heights, OH
                                                                        Pay any missed
44137                                                                   payments quarterly
                                                                        over 9 years
15400 Fernway Dr        $60,800.00 $7,771.27 $53,028.73 $60,800.00      Pay according to               -$7,771.27
                                                                        confirmed plan.
Maple Heights, OH
                                                                        Pay any missed
44137                                                                   payments quarterly
                                                                        over 9 years
5437 Grasmere           $61,250.00 $1,187.49 $60,062.51 $61,250.00      Pay according to               -$1,187.49
                                                                        confirmed plan.
Maple Heights, OH
                                                                        Pay any missed
44137                                                                   payments quarterly
                                                                        over 9 years
TABLE FOUR                                                              TOTAL =                       $28,672.14




                                                      17

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Property                  Value         Real       Equity    Amount of                Treatment            Unsecured
                                        Estate Tax After Tax Mortgage 1                                    Amount (Neg
                                                                                                           #s) or Equity
                                                                                                           (Pos #s)

5139 Philip Street        $66,950.00        $654.22 $66,295.78         $66,950.00 Pay according to              -$654.22
                                                                                      confirmed plan.
Maple Heights, OH
                                                                                      Pay any missed
44137                                                                                 payments quarterly
                                                                                      over 9 years
14703 Granger Road $75,000.00             $1,391.97 $73,608.03         $75,000.00     Pay according to        -$1,391.97
                                                                                      confirmed plan.
Maple Heights, OH
                                                                                      Pay any missed
44137                                                                                 payments quarterly
                                                                                      over 9 years
5200 Catherine St         $69,230.00        $977.26 $68,252.74         $69,230.00     Pay according to          -$977.26
                                                                                      confirmed plan.
Maple Heights, OH
                                                                                      Pay any missed
44137                                                                                 payments quarterly
                                                                                      over 9 years
16510 Maple Hts           $60,668.00      $1,277.33 $59,390.67         $60,668.00     Pay according to        -$1,277.33
                                                                                      confirmed plan.
Blvd Maple Heights,
                                                                                      Pay any missed
OH 44137                                                                              payments quarterly
                                                                                      over 9 years
5536 Elmwood              $45,000.00 $28,678.62 $16,321.38                    $0.00                           $16,321.38
Maple Heights, OH
44137

TABLE FIVE                                                                            TOTAL =                 $12,020.60



1
  Creditors showing as 0 have waived their claims. Claims are the claims fixed in Debtor’s confirmed 2011 plan. Mortgage
amounts shown are those as of the date of the confirmed plan. Although there were agreed orders on some cases, in certain
instances Creditors have nevertheless waived their claims.




           b. Class 2 – Administrative Claims

                 a.      Classification: Class 2 consists of Administrative Claims

                 b.      Treatment: Paid pursuant to the Bankruptcy Code


                                                             18

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          c.      Voting: Unimpaired, will not vote

    c. Class 3: Tax Claims

          a.      Classification: Class 3 consists of Tax Claims

          b.      Treatment: Paid pursuant to the Bankruptcy Code

          c.      Voting: Unimpaired, will not vote

    d. Class 4 - Executory Contracts and Unexpired Leases to be Assumed by the Debtor

          a.      Classification: Class 4 consists of all Executory Contracts to be assumed by the Debtor,
          consisting mostly of Tenant Leases.

          b.      Treatment: On the Effective Date unless otherwise by prior Bankruptcy Court Order, the
          Reorganized Debtor shall assume any contracts, leases or otherwise with respect to any of the
          properties listed in the attached Exhibit A or as scheduled in its Bankruptcy filing.

          c.       Voting: Class 4 is Unimpaired; in which case the Holders of Claims in Class 4 are
          conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
          Therefore, each Holder of an assumed Executory Contract will not be entitled to vote to accept or
          reject the Plan.

    e. Class 5 - General Unsecured Claims

          a.      Classification: Class 5 consists of all General Unsecured Claims against the Debtor,
          including but not limited to Claims arising by the treatment provided under Class One, rejection of
          any executory contracts by the Debtor and not assumed by the Reorganized Debtor.

          b.      Treatment: The claims of Unsecured Creditors shall be satisfied pursuant to the projections
          attached to this Plan. Unsecured Creditors shall receive 4% of their Claims. Debtor estimates
          Unsecured Claims at One Million Two Hundred Thousand Dollars.

          c.       Voting: Class 5 is Impaired. Holders of Allowed General Unsecured Claims in Class 5 are
          entitled to vote to accept or reject the Plan.

    f.   Class 6 – Convenience Claims

          a.      Classification: Class 6 consists of Convenience Claims

          b.      Treatment: Convenience claims shall be paid at the rate of 2% upon confirmation

          c.       Voting: Class 6 is Impaired. Holders of Allowed General Unsecured Claims in Class 6 are
          entitled to vote to accept or reject the Plan.




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       g. Class 7 – §1111(b) Claims

           a. Classification: Class 7 consists of Claims made under 1111(b) of the Bankruptcy Code. Debtor
              does not anticipate that any Class will elect under 1111(b). However, if such election should
              occur, Treatment is provided.
           b. Treatment: 1111(b) Claims, if any, will be paid in full over 40 years beginning after Month 37
              of the Plan at no interest.
           c. Voting: Not entitled to vote.
           d. Because Debtor is paying pursuant to a confirmed plan, Debtor anticipates no 1111(b) claims


  C.       Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtor’s or the
  Reorganized Debtor’s rights regarding any Unimpaired Claim, including all rights regarding legal and
  equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claim.

  D.       Elimination of Vacant Classes

           Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Existing
  Interest, or a Claim or Interest Temporarily Allowed by the Bankruptcy Court as of the date of the
  Confirmation Hearing, shall be deemed eliminated from the Plan for purposes of voting to accept or reject
  the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
  section 1129(a)(8) of the Bankruptcy Code.

  E.       Voting Classes; Presumed Acceptance by Non-Voting Classes

           If a Class contains Claims or Interests eligible to vote on the Plan and no Holder of Claims or Interests
  eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted by the
  Holders of such Claims or Interests in such Class.

  F.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

           Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
  acceptance of the Plan by at least one Impaired Class of Claims. The Debtor shall seek Confirmation of the
  Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class(es) of Claims
  or Interests. The Debtor reserve the right to modify the Plan in accordance with Article X of the Plan to the
  extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
  including by modifying the treatment applicable to a Class of Claims or Interests to render such Class of
  Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

  G.       Subordinated Claims and Interests

          The allowance, classification, and treatment of all Allowed Claims and Existing Interests and their
  respective distributions and treatments under the Plan take into account and conform to the relative priority
  and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
  subordination rights relating thereto, whether arising under general principles of equitable subordination,
  section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the
  Debtor or Reorganized Debtor, as applicable, reserve the right to re-classify any Allowed Claim or Interest
  in accordance with any contractual, legal, or equitable subordination relating thereto.



                                                          20

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  H.      Claims of Shareholders

          No claims Shareholders shall be paid.

  I.      1111(b) Claims

          Debtor is aware that several Creditors have filed for § 1111(b) Treatment under the Bankruptcy
          Code. Although Debtor does not anticipate any Class Electing under § 1111(b), those Claims shall
          be paid as set forth above. Those Claims, if filed, shall be paid as set forth above. Because Debtor
          is paying pursuant to a confirmed plan, Debtor does not anticipate paying out any 1111(b) claims.

                                        ARTICLE IV.
                        PROVISIONS FOR IMPLEMENTATION OF THE PLAN

  A.      General Settlement of Claims, Interests, and Causes of Action

           Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration
  for the classification, distributions, releases, and other benefits provided under the Plan, upon the Effective
  Date, the provisions of the Plan shall constitute a good faith compromise and settlement of all Claims,
  Interests, Causes of Action, and controversies released, settled, compromised, discharged, satisfied, or
  otherwise resolved pursuant to the Plan. The entry of the Confirmation Order shall constitute the
  Bankruptcy Court’s approval of the compromise and settlement of all such Claims, Interests, Causes of
  Action, and controversies, as well as a finding by the Bankruptcy Court that such compromise and
  settlement is in the best interests of the Debtor, the Estate, and Holders of Claims and Interests and is fair,
  equitable, reasonable, and in the best interests of the Debtor and the Estate.

  B.      Transactions On or Before the Effective Date

          On or before the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
  Debtor shall carry out the terms of the Plan.

  C.      Liens Post Confirmation

           Any lender or Holder of a Claim under the Plan shall have valid, binding, and enforceable Liens on
  the collateral specified in, and to the extent required by the Plan. To the extent granted, the guarantees,
  mortgages, pledges, Liens and other security interests granted pursuant to the Plans are granted in good faith
  as an inducement to the lender or Holder of a Claim under the Plan to extend credit thereunder and shall be
  deemed not to constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be subject to
  avoidance, and the priorities of any such Liens and security interests shall be as set forth in the relevant
  documents.

  D.      Management of Reorganized Debtor

          The Debtor’s current management team Martin & Deborah Maniaci shall remain in their current
  positions after confirmation of the Plan, and shall enter into new employment agreements in connection
  with the Plan on terms and conditions consistent with the pre-existing contract of employment and
  otherwise reasonably acceptable to the Reorganized Debtor.

  E.      Vesting of Assets

          Except as otherwise provided in the Plan or in any agreement, instrument, or other document
  incorporated in the Plan or any Plan Supplement or Amendment, on the Effective Date, all property in the

                                                        21

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  Debtor’s Estate, all Causes of Action, and any property acquired by any of the Debtor under the Plan shall
  vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and
  after the Effective Date, except as otherwise provided in the Plan, the Reorganized Debtor may operate its
  business and may use, acquire, or dispose of property and pursue, compromise or settle any Claims,
  Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any
  restrictions of the Bankruptcy Code or Bankruptcy Rules.

  F.      Corporate Action

         On and after the Effective Date, all actions contemplated by the Plan shall be deemed authorized
  and approved by the Bankruptcy Court in all respects without any further corporate or equity holder action.

  G.      Corporate Existence

           Except as otherwise provided in the Plan or any agreement, instrument, or other document
  incorporated in the Plan or the Plan Supplement, on the Effective Date, the Debtor shall continue to exist
  after the Effective Date as a separate limited liability company with all the powers of a limited liability
  company pursuant to the applicable law in the jurisdiction in which the Debtor is incorporated or formed
  and pursuant to the respective certificate of incorporation and by-laws (or other analogous formation
  documents) or authorization to do business in effect before the Effective Date, except to the extent such
  certificate of incorporation or bylaws (or other analogous formation, constituent or governance documents)
  is amended by the Plan or otherwise, and to the extent any such document is amended, such document is
  deemed to be amended pursuant to the Plan and requires no further action or approval (other than any
  requisite filings required under applicable state or federal law). Notwithstanding the foregoing, the Debtor
  reserves the right to modify the Debtor’s corporate structure as of the Effective Date, including the transfers
  contemplated to be made to the Reorganized Debtor or otherwise.

  H.      Effectuating Documents; Further Transactions

           On and after the Effective Date, the Reorganized Debtor and the officers and members of the boards
  of directors and managers (or other relevant governing body) thereof, including the Reorganized Debtor
  Board, shall be authorized to and may issue, execute, deliver, file, or record such contracts, instruments,
  releases, and other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate, implement, and further evidence the terms and conditions of the Plan.

  I.      Preservation of Causes of Action

           Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated,
  released, compromised, or settled in the Plan, including pursuant to Article VIII of the Plan or a Final Order,
  in accordance with section 1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may
  enforce all rights to commence and pursue any and all Causes of Action, whether arising before or after the
  Petition Date, including any actions specifically enumerated in the Plan Supplement, and the Reorganized
  Debtor’s rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
  the occurrence of the Effective Date. No Entity may rely on the absence of a specific reference in the Plan,
  the Plan Supplement, or the Disclosure Statement to any Cause of Action against them as any indication that
  the Debtor or the Reorganized Debtor will not pursue any and all available Causes of Action against them.

                                  ARTICLE V.
             TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  A.      Assumption or Rejection of Executory Contracts and Unexpired Leases

          Each Executory Contract and Unexpired Lease shall be deemed assumed, without the need for any

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  further notice to or action, order, or approval of the Bankruptcy Court, as of the Effective Date under section
  365 of the Bankruptcy Code, unless listed on a Notice and Schedule of Rejected Executory Contracts and
  Unexpired Leases, if any filed with the Court prior to the Confirmation of the Plan. The assumption of
  Executory Contracts and Unexpired Leases hereunder may include the assignment of such contracts to the
  Reorganized Debtor. The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above described assumptions and assignments.

           Except as otherwise provided herein or agreed to by the Debtor and the applicable counterparty,
  each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto, if any, including
  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
  interests. Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
  Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed
  to alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or
  amount of any Claims that may arise in connection therewith. To the extent applicable, no change of control
  (or similar provision) will be deemed to occur under any such Executory Contract or Unexpired Lease.

  B.      Contracts and Leases After the Petition Date

          Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
  Contracts and Unexpired Leases assumed under section 365 of the Bankruptcy Code, will be performed by
  the Reorganized Debtor in the ordinary course of its business. Such contracts and leases that are not rejected
  under the Plan shall survive and remain unaffected by entry of the Confirmation Order.

  C.      Reservation of Rights

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtor
  or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any
  Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
  is or was executory or unexpired at the time of assumption, the Debtor or the Reorganized Debtor, as
  applicable, shall have 45 days following entry of a Final Order resolving such dispute to alter their treatmentof
  such contract or lease.

  D.      Nonoccurrence of Effective Date

           In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
  respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section
  365(d)(4) of the Bankruptcy Code.

                                          ARTICLE VI.
                              PROVISIONS GOVERNING DISTRIBUTIONS

  A.      Distributions on Account of Claims and Interests Allowed as of the Effective Date

           Except as otherwise provided herein, a Final Order, or as otherwise agreed to by the Debtor or the
  Reorganized Debtor, as the case may be, and the Holder of the applicable Claim or Interest, on the first
  Distribution Date, the Distribution Agent shall make initial distributions under the Plan on account of Claims
  and Interests Allowed on or before the Effective Date; provided, however, that (1) Allowed Administrative
  Claims with respect to liabilities incurred by the Debtor in the ordinary course of business shall be paid or
  performed in the ordinary course of business in accordance with the terms and conditions of any controlling
  agreements, course of dealing, course of business, or industry practice, and (2) Allowed Priority Tax Claims
  shall be paid in accordance with the Bankruptcy Code. To the extent any Allowed Priority Tax Claim is not
  due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance with the terms

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  of any agreement between the Debtor and the Holder of such Claim or as may be due and payable under
  applicable non-bankruptcy law or in the ordinary course of business. Provided, however, that
  notwithstanding this paragraph, the projections of the Debtor shall control as to the timing of the payments.
  See Debtor’s projections attached to the Disclosure Statement as Exhibit D.

  B.      Rights and Powers of the Distribution Agent

          1.        Powers of Distribution Agent

          The Distribution Agent under this Disclosure Statement and Plan will be Deborah Maniaci. The
  Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments, and
  other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated
  hereby; employ professionals to represent it with respect to its responsibilities; and (d) exercise such other
  powers as may be vested in the Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan,
  or as deemed by the Distribution Agent to be necessary and proper to implement the provisions hereof.

          2.        Expenses Incurred On or After the Effective Date

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
  expenses incurred by the Distribution Agent on or after the Effective Date (including taxes) and any
  reasonable compensation and expense reimbursement claims (including reasonable attorney fees and
  expenses) made by the Distribution Agent shall be paid in Cash by the Reorganized Debtor.

  C.      Delivery of Distributions

          1.        Record Date for Distributions

          Three business days before the Effective Date, the Claim Register maintained by the
  Bankruptcy Court for each Class of Claims as also maintained by the Debtor shall be deemed closed, and
  there shall be no further changes in the record Holders of any Claims. The Distribution Agent shall have no
  obligation to recognize any transfer of Claims or Interests occurring on or after 3 business days before the
  Effective Date. In addition, with respect to payment of any Cure amounts or disputes over any Cure
  amounts, neither the Debtor nor the Distribution Agent shall have any obligation to recognize or dealwith
  any party other than the non-Debtor party to the applicable Executory Contract or Unexpired Lease asof the
  Effective Date, even if such non-Debtor party has sold, assigned, or otherwise transferred its Claim for a
  Cure amount.

          2.        Distribution Process

            The Distribution Agent shall make all distributions required under the Plan, except that with respect
  to distributions to Holders of Allowed Claims governed by a separate agreement, shall exercise commercially
  reasonable efforts to implement appropriate mechanics governing such distributions in accordance with the
  Plan and the terms of the relevant governing agreement.

  D.      Setoffs

         Except as otherwise expressly provided for herein, the Reorganized Debtor, pursuant to the
  Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as
  may be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the distributions to
  be made pursuant to the Plan on account of such Allowed Claim (before any distribution is made on account
  of such Allowed Claim), any claims, rights, and Causes of Action of any nature that the Debtor or
  Reorganized Debtor, may hold against the Holder of such Allowed Claim, to the extent such claims, rights,
  or Causes of Action against such Holder have not been otherwise compromised or settled on or prior to the

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  Effective Date (whether pursuant to the Plan or otherwise); provided, however, that neither the failure to
  effect such a setoff nor the allowance of any Claim pursuant to the Plan shall constitute a waiver or release
  by the Reorganized Debtor of any such claims, rights, and Causes of Action that t h e Reorganized Debtor
  may possess against such Holder. In no event shall any Holder of Claims be entitled to set off any such Claim
  against any claim, right, or Cause of Action of the Debtor or Reorganized Debtor (as applicable), unless such
  Holder has Filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on or
  before the Confirmation Date, and notwithstanding any indication in any Proof of Claim or otherwise that
  such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 of the Bankruptcy Code
  or otherwise.

                                       ARTICLE VII.
                         PROCEDURES FOR RESOLVING DISPUTED CLAIMS

  A.      Allowance of Claims

          After the Effective Date, the Reorganized Debtor shall have and retain any and all rights and
  defenses the Debtor had with respect to any Claim immediately before the Effective Date. Except as
  expressly provided in the Plan or in any order entered in the Chapter 11 Case before the Effective Date
  (including the Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim
  is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final
  Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Case.

  B.      Claims Administration Responsibilities

           Except as otherwise specifically provided in the Plan and notwithstanding any requirements that
  may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the Reorganized Debtor shall
  have the sole authority to File and prosecute objections to Claims, and the Reorganized Debtor shall have
  the sole authority to (1) settle, compromise, withdraw, litigate to judgment, or otherwise resolve objections
  to any and all Claims, regardless of whether such Claims are in a Class or otherwise; (2) settle, compromise,or
  resolve any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy
  Court; and (3) administer and adjust the Claims Register to reflect any such settlements or compromises
  without any further notice to or action, order, or approval by the Bankruptcy Court. On and after the
  Effective Date, the Reorganized Debtor will use commercially reasonable efforts to advance the claims
  resolution process through estimation or otherwise.

  C.      Time to File Objections to Claims

          Any objections to Claims shall be filed within 60 days from the Confirmation of the Plan.

  D.      Amendments to Claims

          On or after the Effective Date, a Claim may not be Filed or amended without the prior authorization
  of the Bankruptcy Court or the Reorganized Debtor, and any such new or amended Claim Filed shall be
  deemed Disallowed in full and expunged without any further notice to or action, order, or approval of the
  Bankruptcy Court to the maximum extent provided by applicable law.

  E.      No Distributions Pending Allowance

         If an objection to a Claim or portion thereof is Filed, no payment or distribution provided under the
  Plan shall be made on account of such Claim or portion thereof unless and until such Disputed Claim
  becomes an Allowed Claim, unless otherwise determined by the Reorganized Debtor.



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  F.      Distributions After Allowance

           To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions shall be
  made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon as
  reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
  Disputed Claim becomes a Final Order, the Reorganized Debtor shall provide to the Holder of such Claim
  the distribution to which such Holder is entitled under the Plan as of the Effective Date, less any previous
  distribution (if any) that was made on account of the undisputed portion of such Claim, without any interest,
  dividends, or accruals to be paid on account of such Claim unless required under applicable bankruptcy law
  or as otherwise provided herein.

                                          ARTICLE VIII.
                              EFFECT OF CONFIRMATION OF THE PLAN

  A.      Discharge of Claims and Termination of Interests

           Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided
  in the Plan or in any contract, instrument, or other agreement or document created pursuant to the Plan, the
  distributions, rights, and treatment that are provided in the Plan shall be in complete satisfaction, discharge,
  and release, effective as of the Effective Date, of Claims, Interests, and Causes of Action of any nature
  whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
  known or unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in the Debtor
  or any of its assets or properties, regardless of whether any property shall have been distributed or retained
  pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and Causes of
  Action that arose before the Effective Date, any liability (including withdrawal liability) to the extent such
  Claims or Interests relate to services performed by employees of the Debtor before the Effective Date and
  that arise from a termination of employment, any contingent or non- contingent liability on account of
  representations or warranties issued on or before the Effective Date, and all debts of the kind specified in
  sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim
  based upon such debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2)
  a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
  Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default or “event
  of default” by the Debtor with respect to any Claim or Interest that existed immediately before or on account of
  the Filing of the Chapter 11 Case shall be deemed cured (and no longer continuing) as of the Effective Date.
  The Confirmation Order shall be a judicial determination of the discharge of all Claims and Interestssubject
  to the Effective Date occurring.

  B.      Releases by the Debtor

           Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and
  after the Effective Date, each Released Party is deemed released and discharged by the Debtor, the
  Reorganized Debtor, and its Estate from any and all Causes of Action, including any derivative claims asserted
  on behalf of the Debtor, that the Debtor, the Reorganized Debtor, or the Estates would have been legally
  entitled to assert in their own right (whether individually or collectively) or on behalf of the Holder of any
  Claim or Interest, or that any Holder of any Claim or Interest could have asserted on behalf of the Debtor,
  based on or relating to, or in any manner arising from, in whole or in part:

          1.     The Debtor, the Debtor’s restructuring efforts, or the formulation, preparation,
          dissemination, negotiation, of the Plan and the Disclosure Statement.

          2.      Any transaction, contract, instrument, release, or other agreement or document (including
          providing any legal opinion requested by any Entity regarding any transaction, contract, instrument,
          document, or other agreement contemplated by the Plan or the reliance by any Released Party on

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          the Plan or the, the Disclosure Statement or the Plan.

          3.       The Chapter 11 Case, the Disclosure Statement, the Plan, the Filing of the Chapter 11 Case,
          the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation
          of the Plan, including the issuance or distribution of any membership interests pursuant to the Plan
          or the distribution of property under the Plan or any other related agreement; or Any other act or
          omission, transaction, agreement, event, or other occurrence taking placeon or before the Effective
          Date.

           Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
  release (i) any claims related to any act or omission that is determined in a final order to have constituted
  actual fraud, (ii) the rights of any party under any employment agreement or plan, or (iii) any post-Effective Date
  obligations of any party or Entity under the Plan, any transaction, or any document, instrument, or agreement
  (including those set forth in the Plan Supplement or amendment) executed to implement the Plan.

  C.      Protection Against Discriminatory Treatment

           In accordance with section 525 of the Bankruptcy Code, and consistent with Article VI of the United
  States Constitution, no Governmental Unit shall discriminate against the Reorganized Debtor, or any Entity
  with which the Reorganized Debtor has been or is associated, solely because such Reorganized Debtor was a
  Debtor under chapter 11, may have been insolvent before the commencement of the Chapter 11 Case (or
  during the Chapter 11 Case but before the Debtor was granted or denied a discharge), or has not paid a debt
  that is dischargeable in the Chapter 11 Case.

  D.      Release of Mortgages

          The Plan does not anticipate the release of mortgages. The Debtor will attempt to “cram down”
  mortgages by paying only the secured amount as a Secured Claim. However, the mortgages will survive
  the Plan.

  E.      Reimbursement or Contribution

           If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant
  to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the
  Effective Date, such Claim shall be forever Disallowed notwithstanding section 502(j) of the Bankruptcy
  Code, unless prior to the Effective Date (1) such Claim has been adjudicated as non-contingent, or (2) the
  relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
  Order has been entered determining such Claim as no longer contingent.

  F.      Recoupment

           In no event shall any Holder of a Claim be entitled to recoup such Claim against any claim, right,
  or Cause of Action of the Debtor or the Reorganized Debtor, as applicable, unless such Holder actually has
  performed such recoupment and provided notice thereof in writing to the Debtor on or before the
  Confirmation Date, notwithstanding any indication in any Proof of Claim or otherwise that such Holder
  asserts, has, or intends to preserve any right of recoupment.

  G.      Subordination Rights

         Any distributions under the Plan to Holders of Allowed Claims shall be received and retained free
  from any obligations to hold or transfer the same to any other Holder and shall not be subject to levy,
  garnishment, attachment, or other legal process by any Holder by reason of claimed contractual
  subordination rights. On the Effective Date, any such subordination rights shall be deemed waived, and the

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  Confirmation Order shall constitute an injunction enjoining any Entity from enforcing or attempting to
  enforce any contractual, legal, or equitable subordination rights to property distributed under the Plan, in
  each case other than as provided in the Plan; provided, that any such subordination rights shall be preserved
  in the event the Confirmation Order is vacated, the Effective Date does not occur in accordance with the
  terms hereunder or the Plan is revoked or withdrawn.

                                         ARTICLE IX.
                         CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

  A.        Conditions Precedent to the Effective Date

            It shall be a condition to the Effective Date that the following conditions shall have been satisfied or
  waived:

            1.       The Bankruptcy Court shall have entered the Confirmation Order in form and substance
            reasonably acceptable to the Debtor and the Reorganized Debtor, and the Confirmation Order shall
            be a Final Order; provided, that notwithstanding anything to the contrary herein, the determination
            to not consummate the Plan after the expiration of the applicable period to file an appeal solely on
            the basis that the Confirmation Order has not become a Final Order after the applicable appeals
            period has elapsed due to a pending appeal; and provided, further, that in the event that the Effective
            Date of the Plan does not occur solely as a result of the Confirmation Order not being a Final Order
            after the applicable period has elapsed due to a pending appeal.

            2.      The Plan, the Definitive Documents, and all documents contained in any Plan supplement,
            including any exhibits, schedules, amendments, modifications or supplements thereto, shall have
            been executed and/or filed, in form and substance consistent in all respects and otherwise
            reasonably acceptable to the Debtor and the Reorganized Debtor.

            3.      No court of competent jurisdiction or other competent governmental or regulatory authority
            shall have issued a final and non-appealable order making illegal or otherwise restricting,
            preventing or prohibiting, in a material respect, the consummation of the Plan, or any of the
            Definitive Documents contemplated thereby;

            4.      All Allowed Professional Fee Claims shall have been paid in full or agreement reached for
            payment of such Allowed Professional Fee Claims after the Effective Date pending approval of the
            Professional Fee Claims by the Bankruptcy Court.

  B.        Waiver of Conditions

          The conditions to the Effective Date of the Plan set forth in Article IX of the Plan may only be
  waived with the consent of the Debtor and the Reorganized Debtor (such consents not to be unreasonably
  withheld) without notice, leave, or order of the Bankruptcy Court or any formal action other than
  proceedings to confirm or consummate the Plan.

  C.        Substantial Consummation

          “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to
  occur on the Effective Date.




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                                    ARTICLE X.
                MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

  A.      Modification of Plan
           Effective as of the date hereof (1) the Debtor reserves the right, in accordance with the Bankruptcy
  Code and the Bankruptcy Rules, to amend or modify the Plan before the entry of the Confirmation Order
  consistent with the terms set forth herein; and (2) after the entry of the Confirmation Order, the Debtor or
  the Reorganized Debtor, may, upon order of the Bankruptcy Court, amend or modify the Plan, in accordance
  with section 1127(b) of the Bankruptcy Code, remedy any defect or omission, or reconcile any inconsistency
  in the Plan in such manner as may be necessary to carry out the purpose and intent of the Plan consistent with
  the terms set forth herein.

  B.      Effect of Confirmation on Modifications

           Entry of the Confirmation Order shall constitute approval of all modifications to the Plan occurring
  after the solicitation of votes thereon pursuant to section 1127(a) of the Bankruptcy Code and a finding that
  such modifications to the Plan do not require additional disclosure or re-solicitation under Bankruptcy Rule
  3019.

  C.      Revocation or Withdrawal of Plan

           The Debtor reserves the right to revoke or withdraw the Plan before the Confirmation Date and to
  file subsequent chapter 11 plans. If the Debtor revokes or withdraws the Plan, or if Confirmation or the
  Effective Date does not occur, then: (1) the Plan will be null and void in all respects; (2) any settlement or
  compromise embodied in the Plan, assumption or rejection of Executory Contracts or Unexpired Leases
  effectuated by the Plan, and any document or agreement executed pursuant hereto will be null and void in
  all respects; and (3) nothing contained in the Plan shall (a) constitute a waiver or release of any Claims,
  Interests, or Causes of Action by any Entity, (b) prejudice in any manner the rights of the Debtor or any
  other Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by the
  Debtor or any other Entity.

                                            ARTICLE XI.
                                     RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
  Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter
  11 Case and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

          1.        Allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured
          or unsecured status, or amount of any Claim against the Debtor, including the resolution of any
          request for payment of any Claim and the resolution of any and all objections to the Secured or
          unsecured status, priority, amount, or allowance of Claims; provided, that the Bankruptcy Court’s
          jurisdiction with respect to the foregoing shall be on a non- exclusive basis;

          2.      Decide and resolve all matters related to the granting and denying, in whole or in part, any
          applications for allowance of compensation or reimbursement of expenses to Professionals
          authorized pursuant to the Bankruptcy Code or the Plan;

          3.      Resolve any matters related to Executory Contracts or Unexpired Leases, including: (a) the
          assumption or assumption and assignment of any Executory Contract or Unexpired Lease to which
          the Debtor is party or with respect to which the Debtor may be liable and to hear, determine, and, if
          necessary, liquidate, any Cure or Claims arising therefrom, including pursuant to section 365 of the
          Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or

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        Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is or
        was executory or expired;

        4.      Ensure that distributions to Holders of Allowed Claims and Existing Interests are
        accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or
        relating to distributions under the Plan; adjudicate, decide, or resolve any motions, adversary
        proceedings, contested or litigated matters, and any other matters, and grant or deny any
        applications involving the Debtor that may be pending on the Effective Date;

        5.     Enter and implement such orders as may be necessary or appropriate to execute, implement,
        or consummate the provisions of (a) contracts, instruments, releases, indentures, and other
        agreements or documents approved by a Final Order in the Chapter 11 Case, and (b) the Plan, the
        Confirmation Order, and contracts, instruments, releases, indentures, and other agreements or
        documents created in connection with the Plan;

        6.     Enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
        Bankruptcy Code;

        7.      Grant any consensual request to extend the deadline for assuming or rejecting Unexpired
        Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

        8.       Issue injunctions, enter and implement other orders, or take such other actions as may be
        necessary or appropriate to restrain interference by any Entity with Consummation or enforcement
        of the Plan;

        9.       Hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of
        Action in connection with or in any way related to the Chapter 11 Case, including: (a) with respect
        to the repayment or return of distributions and the recovery of additional amounts owed by the
        Holder of a Claim for amounts not timely repaid pursuant to Article VI.E.1 of the Plan; (b) with
        respect to the releases, injunctions, and other provisions contained in Article VIII of the Plan,
        including entry of such orders as may be necessary or appropriate to implement such releases,
        injunctions, and other provisions; (c) that may arise in connection with the Consummation,
        interpretation, implementation, or enforcement of the Plan, the Confirmation Order, and contracts,
        instruments, releases, and other agreements or documents created in connection with the Plan; or (d)
        related to section 1141 of the Bankruptcy Code;

        10.      Enter and implement such orders as are necessary or appropriate if the Confirmation Order
        is for any reason modified, stayed, reversed, revoked, or vacated;

        11.     Consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
        inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        12.     Hear and determine matters concerning state, local, and federal taxes in accordance with
        sections 346, 505, and 1146 of the Bankruptcy Code;

        13.     Enter an order or Final Decree concluding or closing the Chapter 11 Case;

        14.     Enforce all orders previously entered by the Bankruptcy Court;

        15.     Hear and determine disputes involving all matters the implementation of the Plan.

        16.     Hear any other matter not inconsistent with the Bankruptcy Code.

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                                             ARTICLE XII.
                                      MISCELLANEOUS PROVISIONS

  A.      Immediate Binding Effect

          Subject to Article IX.A hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062
  or otherwise, upon the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall
  be immediately effective and enforceable and deemed binding upon the Debtor, the Reorganized Debtor,
  and any and all Holders of Claims or Interests (irrespective of whether such Holders of Claims or Interests
  are deemed to have accepted the Plan), all Entities that are parties to or are subject to the settlements,
  compromises, releases, discharges, and injunctions described in the Plan, each Entity acquiring property
  under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leaseswith the
  Debtor.

  B.      Additional Documents

          On or before the Effective Date, the Debtor may file with the Bankruptcy Court such agreements
  and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
  conditions of the Plan. The Debtor or the Reorganized Debtor, as applicable, and all Holders of Claims
  receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
  execute, and deliver any agreements or documents and take any other actions as may be necessary or
  advisable to effectuate the provisions and intent of the Plan.

  C.      Payment of Statutory Fees

          All fees payable pursuant to 28 U.S.C. § 1930(a) prior to the Effective Date shall be paid by the
  Debtor. On and after the Effective Date, the Reorganized Debtor shall pay any and all such fees when due
  and payable, and shall file with the Bankruptcy Court quarterly reports in a form reasonably acceptable to
  the U.S. Trustee. The Debtor and Reorganized Debtor shall remain obligated to pay quarterly fees to the
  U.S. Trustee until the earliest of the case being closed, dismissed, or converted to a case under chapter 7 of
  the Bankruptcy Code.

  D.      Reservation of Rights

           The Plan shall have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order.
  None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
  by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall
  be deemed to be an admission or waiver of any rights of the Debtor with respect to the Holders of Claims or
  Interests prior to the Effective Date.


  E.      Successors and Assigns

           The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
  on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
  director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

  F.      Service of Documents

          After the Effective Date, any pleading, notice, or other document required by the Plan to be served
  on or delivered to the Reorganized Debtor shall be served on:



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          Debtor and Reorganized Debtor

          FORBES LAW, LLC
          Attention: Glenn E Forbes
          166 Main Street
          Painesville, Ohio 44077

  G.      Term of Injunctions or Stays

           Unless otherwise provided herein or in the Confirmation Order, all injunctions or stays in effect in
  the Chapter 11 Case (pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy
  Court) and existing on the Confirmation Date (excluding any injunctions or stays contained in the Plan or
  the Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or
  stays contained in the Plan or the Confirmation Order shall remain in full force and effect in accordance with
  their terms.

  H.      Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations,
  promises, covenants, agreements, understandings, and representations on such subjects, all of which have
  become merged and integrated into the Plan.

  I.      Plan Supplement or Amendments

           After any of such documents included in any Plan Supplement or Amendment are Filed, copies of
  such documents shall be made available upon written request to the Debtor’s counsel at the address above
  or by downloading such exhibits and documents from the Bankruptcy Court’s website at
  https://www.pacer.gov/.

  J       Non-Severability

           If, prior to Confirmation, the Bankruptcy Court holds any term or provision of the Plan to be invalid,
  void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or
  provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
  purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
  then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
  the remainder of the terms and provisions of the Plan will remain in full force and effect and will in no way
  be affected, impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
  shall constitute a judicial determination and shall provide that each term and provision of the Plan, as it may
  have been altered or interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to
  its terms; (2) integral to the Plan and may not be deleted or modified without the consent of the Debtor or the
  Reorganized Debtor; and (3) non-severable and mutually dependent.

  K.      Votes Solicited in Good Faith

          Upon entry of the Confirmation Order, the Debtor will be deemed to have solicited votes on the
  Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the
  Bankruptcy Code, the Debtor and its respective agents, representatives, members, principals, equity holders
  (regardless of whether such interests are held directly or indirectly), officers, directors, managers,
  employees, advisors, and attorneys will be deemed to have participated in good faith and in compliance
  with the Bankruptcy Code in the offer, issuance, sale, and purchase of New Membership Interests offered



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  and sold under the Plan, and, therefore, neither any of such parties or individuals or the Reorganized Debtor will
  have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
  votes on the Plan or the offer, issuance, sale, or purchase of the New Membership Interests offered and sold
  under the Plan.

  L       Closing of Chapter 11Case

         The Reorganized Debtor shall, promptly after the full administration of the Chapter 11 Case, File with
  the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the
  Bankruptcy Court to close the Chapter 11 Case.

  M       Waiver or Estoppel

           Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any
  argument, including the right to argue that its Claim! or Interest should be Allowed in a certain amount, in
  a certain priority, Secured or not subordinated by virtue of an agreement made with the Debtor or their
  counsel, or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
  papers Filed with the Bankruptcy Court prior to the <Confirmation Date.

  N       Insider and Avoidance Actions

          Debtor has no insider or avoidance actions to pursue.
                                                       I
  0.      Post-Confirmation Reports and Trustee Payments

          The Debtor shall be responsible for filing all post confirmation reports and for paying any post­
  confirmation fees under 28 U.S.C. § l 930(a)(6), until a final decree is entered. A final decree will be entered
  as soon as practicable after distributions have commenced under this plan.

  P.      Insider Compensation

          Debtor has no plans to increase insider compensation unless the same is justified by business
  successes prior to payment in full being made to all creditors under the Plan. Currently, the principals of
  the Debtor, Martin and Deborah Maniaci are drawing total compensation of approximately Seven Thousand
  Three Hundred Fifty Dollars ($7,350.00) per month .



  Dated: September 30, 2021




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